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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION )
 and GENEVANT SCIENCES GmbH,        )
                                    )
           Plaintiffs,              )
                                    )
       v.                           ) C.A. No. 22-252 (MSG)
                                    )
 MODERNA, INC. and MODERNATX, INC. )
                                    )
           Defendants.              )
 MODERNA, INC. and MODERNATX, INC., )
                                    )
           Counterclaim-Plaintiffs, )
                                    )
       v.                           )
                                    )
 ARBUTUS BIOPHARMA CORPORATION )
 and GENEVANT SCIENCES GmbH,        )
                                    )
           Counterclaim-Defendants. )

                                 MOTION AND ORDER
                             FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission

pro hac vice of Yan-Xin Li and Alina Afinogenova of KIRKLAND & ELLIS LLP to represent

defendants Moderna, Inc. and Modernatx, Inc. in this matter.
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                                           Attorneys for Defendants

April 12, 2023


                              ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice of Yan-Xin

Li and Alina Afinogenova is granted.



Dated: ______________________
        April 12, 2023                   /s/ Mitchell S. Goldberg
                                                     United States District Judge
